                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                            TAMPA DIVISON

SUSAN BACS and
JESSICA ROUBERT,

      Plaintiffs,
v.                                     CASE NO.: 8:21-cv-2852-TPB-TGW

CAPITAL ONE FINANCIAL
CORPORATION,

    Defendant.
_____________________/

                DECLARATION OF AMANDA E. HEYSTEK

      I, Amanda E. Heystek, declare under penalty of perjury as follows:

      1.     Unless otherwise indicated, the facts set forth below are based on my

personal knowledge and the opinions set forth herein are my own. I understand that

this declaration under oath may be filed in the above captioned action.

      2.     I am an attorney at Wenzel Fenton & Cabassa, P.A., and counsel in the

above-styled case.

      3.     I have been a member of the Florida Bar since June of 2000. I have a

J.D. from Southern Illinois University School of Law, and two Bachelor’s degrees

from Southern Illinois University.

      4.     I’ve practiced law as an Assistant Public Defender at the Sixth Circuit

Public Defenders Office and as a solo practitioner from my own firm specializing in

family law in Jacksonville, Florida. I later joined the non-profit Disability Rights




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Florida, Inc., where I practiced exclusively in the field of civil rights for people with

disabilities for the next decade, focusing on securing injunctive relief for clients on

an individual and systemic basis. The systemic work I provided at Disability Rights

Florida, Inc., involved multi-plaintiff litigation specifically seeking injunctive relief.

       5.    In September 2019, I joined the law firm of Wenzel Fenton Cabassa,

P.A., and have provided legal support to Brandon J. Hill and Luis A. Cabassa in their

class action work.

       6.    I am admitted in the United States District Courts for the Northern,

Middle, and Southern District Courts of Florida, and the United States Court of

Appeals for the Eleventh Circuit.

       7.    I have represented employees in all stages of litigation in federal and

state courts throughout Florida. In the federal districts of Florida alone I have served

as co-counsel or lead counsel in 100+ federal cases.

       8.    I possess the requisite experience necessary to serve as class counsel in

this case.

       9.    I have been retained by Plaintiffs as counsel in the instant case along

with lead counsel, Brandon J. Hill, and attorney Luis A. Cabassa.

       10.   I am confident that the proposed Class Representatives, Susan Bacs and

Jessica Roubert, will adequately represent the putative class members in this case.




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      Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the

foregoing is true and correct.

      Dated this 3rd day of August, 2022.



                                            ______________________
                                            AMANDA E. HEYSTEK




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